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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

 OSCAR ANTONIO DIAZ HUETE,

                        Petitioner,

                                                      Civil Action No. 1:18-cv-I485(AJT/IDD)

 JESSIKA OLIVETH SANCHEZ
 SANCHEZ,

                        Respondent.


                                              ORDER


          This matter is before the Court on the Report & Recommendation [Doc. No. 23] ofthe

 Magistrate Judge recommending that Plaintiffs Motion for Default Judgment[Doc. No. 15] be

 granted and that the Court enter(1)a defaultjudgment in favor of the Petitioner Oscar Antonio

 Diaz Huete and against Respondent Jessika Oliveth Sanchez Sanchez for violation of22 U.S.C.

 § 9001 et seq.\ (2)an order directing the prompt return of the Child to her habitual residence of

 Honduras; and (3)an order directing Respondent to pay Petitioner's legal costs and fees incurred

 in connection with this action pursuant to 22 U.S.C. § 9007(b)(3). The Magistrate Judge advised

 the parties that objections to Proposed Findings of Fact and Recommendations must be filed

 within fourteen days of service and that failure to object waives appellate review. No objections

 have been filed. Having conducted a de novo review ofthe record, the Court adopts and

 incorporates the findings and recommendations ofthe Magistrate Judge. Accordingly, it is

 hereby

          ORDERED that the Report & Recommendation [Doc. No. 23] be, and the same hereby

 is, ADOPTED; and it is further



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